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                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF LOUISIANA
                        LAFAYETTE DIVISION


ANUSHAN NAVARADNAM                                 CASE NO. 6:20-CV-1453 SEC P

VERSUS                                      JUDGE ROBERT R. SUMMERHAYS

DEPT. OF HOMELAND SECURITY,                       MAGISTRATE JUDGE HANNA
ET AL

                           MEMORANDUM ORDER

      Pro se plaintiff Anushan Navaradnam, proceeding in forma pauperis, filed the

instant petition for writ of habeas corpus, pursuant to 28 U.S.C. § 2241, on

November 9, 2020. Petitioner is an immigration detainee in the custody of the

Department of Homeland Security / U.S. Immigration and Customs Enforcement

(“DHS/ICE”). Petitioner alleges that his continued detention is unconstitutional

under Zadvydas v. Davis, 533 U.S. 678, 701 (2001) and requests immediate release

from detention with reasonable conditions of supervision. This matter has been

referred to the undersigned for review, report, and recommendation in accordance

with the provisions of 28 U.S.C. § 636 and the standing orders of the Court.

                               Factual Background

      Petitioner alleges that he was taken into immigration custody in September

2019. Doc. 1, p. 4. He received a final order of removal on October 19, 2019. Id.

Petitioner alleges that he has remained in ICE custody beyond the presumptively
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reasonable 6-month post-removal order period set forth in Zadvydas v. Davis, 533

U.S. 678, 701 (2001), and seeks immediate release.

      In order to determine what action should be taken with respect to this petition,

      THE CLERK IS DIRECTED to serve a summons, a copy of the petition

(rec. doc. 1), and a copy of this Order, by certified mail, on the United States through

the United States Attorney for the Western District of Louisiana, the United States

Attorney General, U.S. Immigration and Customs Enforcement (DHS/ICE), the

Director of ICE, and the warden of the Pine Prairie Ice Processing Center.

      IT IS ORDERED that Respondents file an answer to the petition within sixty

(60) days following the date of service. In the answer, Respondents shall provide the

Court with summary judgment evidence indicating whether there is a significant

likelihood of removal in the reasonably foreseeable future or whether

Petitioner’s detention is otherwise lawful. This evidence shall include information

regarding the length of time that he has been in post-removal-order custody, the date

on which her removal order became final, any administrative decisions relating to

Petitioner’s request for bond, and all documents relevant to the efforts made by the

immigration officials to obtain travel documents for Petitioner.

      Respondents shall also file a memorandum of law briefing the issues raised in

the answer and citing applicable statutory and case law. The memorandum should




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also address whether there is a significant likelihood of removing Petitioner from the

United States in the reasonably foreseeable future.

       IT IS FURTHER ORDERED that Petitioner will be given thirty (30) days

following the filing of Respondents’ answer to produce contradictory summary

judgment evidence1 on the issue of the lawfulness of her detention.

       All documentary exhibits MUST BE APPROPRIATELY BOUND AND

THE PAGES MUST BE NUMBERED. An index describing each item attached

to the response and showing each item’s page number shall also be attached.

       FINALLY, IT IS ORDERED that, as a condition to their acceptance by the

Clerk, all future filings by Petitioner and Respondents shall include a certificate

stating that a copy thereof has been mailed to all other parties.

       After the record is complete and all delays have run, the Court will

determine if genuine issues of material fact exist, which preclude summary

judgment and necessitate an evidentiary hearing. If no hearing is necessary, a

Report and Recommendation will be issued without further notice.




1
 Summary judgment evidence consists of affidavits or unsworn declarations made in accordance
with 28 U.S.C. § 1746, deposition testimony, answers to interrogatories, admissions, and sworn or
certified copies of all papers referred to. All affidavits or unsworn declarations must comply with
Rule 56(e). They shall be made on personal knowledge and set forth such facts as would be
admissible in evidence, and shall show affirmatively that the affiant is competent to testify to the
matters stated therein.
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      THUS DONE in Chambers on this 19th day of January, 2021.




                                                 Patrick J. Hanna
                                          United States Magistrate Judge




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